                                Case 8:23-bk-04313-CPM                     Doc 1      Filed 09/28/23           Page 1 of 31


Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                The Love Family Trust, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  623 Casabella Circle
                                  Tampa, FL 33609
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Hillsborough                                                    Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                               Case 8:23-bk-04313-CPM                         Doc 1         Filed 09/28/23              Page 2 of 31
Debtor    The Love Family Trust, LLC                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
                                                             Middle District of
     If more than 2 cases, attach a                          Florida Tampa
     separate list.                               District   Division                      When      11/01/21                    Case number   8:21-bk-05639-CED
                                                  District                                 When                                  Case number




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                                Case 8:23-bk-04313-CPM                             Doc 1       Filed 09/28/23             Page 3 of 31
Debtor    The Love Family Trust, LLC                                                                      Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?

                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                                                     10450 Belladrum
                                                    Where is the property?           Alpharetta, GA, 30022-0000
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No

                                                       Yes.     Insurance agency     Forced placed insurance by JPMorgan Chase
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                            Case 8:23-bk-04313-CPM                Doc 1       Filed 09/28/23             Page 4 of 31
Debtor   The Love Family Trust, LLC                                                     Case number (if known)
         Name


16. Estimated liabilities      $0 - $50,000                                $1,000,001 - $10 million              $500,000,001 - $1 billion
                               $50,001 - $100,000                          $10,000,001 - $50 million             $1,000,000,001 - $10 billion
                               $100,001 - $500,000                         $50,000,001 - $100 million            $10,000,000,001 - $50 billion
                               $500,001 - $1 million                       $100,000,001 - $500 million           More than $50 billion




Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
                             Case 8:23-bk-04313-CPM                       Doc 1         Filed 09/28/23             Page 5 of 31
Debtor    The Love Family Trust, LLC                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 28, 2023
                                                  MM / DD / YYYY


                             X /s/ Daniel Delpiano                                                        Daniel Delpiano
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X /s/ Buddy D. Ford, Esquire                                                  Date September 28, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Buddy D. Ford, Esquire 0654711
                                 Printed name

                                 Buddy D. Ford, P.A.
                                 Firm name

                                 9301 West Hillsborough Avenue
                                 Tampa, FL 33615-3008
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (813)877-4669                 Email address      All@tampaesq.com

                                 0654711 FL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         The Love Family Trust, LLC

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 28, 2023              X /s/ Daniel Delpiano
                                                           Signature of individual signing on behalf of debtor

                                                            Daniel Delpiano
                                                            Printed name

                                                            Manager
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                              Case 8:23-bk-04313-CPM                       Doc 1         Filed 09/28/23                Page 7 of 31


 Fill in this information to identify the case:
 Debtor name The Love Family Trust, LLC
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                          Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Department of                                       Real property             Disputed               $13,000,000.00              $4,840,900.00              $8,159,100.00
 Justice                                             located at 10450
 Office of the U.S.                                  Belladrum,
 Attorney                                            Alpharetta, GA
 1 Courthouse Way,                                   30022
 #9200
 Boston, MA 02210
 JPMorgan Chase                                      Real property     Disputed                         $6,493,632.44             $4,840,900.00              $6,493,632.44
 Bank, N.A.                                          located at 10450
 3415 Vision Dr.                                     Belladrum,
 Columbus, OH                                        Alpharetta, GA
 43219                                               30022
 RCT                                                 Restoration Claim                                                                                         $140,935.71
 310 E. Harrison St.
 Tampa, FL 33602
 The Public                                                                                                                                                    $125,511.89
 Adjustors
 Ronald Delo
 1016 Thomas Dr.
 Panama City, FL
 32408
 PIEA, LLC                                           Service Contract                                                                                          $102,137.76
 2031 SW 60 Ave.
 Fort Lauderdale, FL
 33317
 Fulton County Tax                                                                                                                                                       $0.00
 Commission
 141 Pryor St. SW,
 #1085
 Atlanta, GA 30303
 Fulton County Tax                                                                                                                                                       $0.00
 Commission
 Water and Sewer
 Dept.
 P.O. Box 105300
 Alpharetta, GA
 30022


Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                              Case 8:23-bk-04313-CPM                       Doc 1         Filed 09/28/23                Page 8 of 31



 Debtor    The Love Family Trust, LLC                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Internal Revenue                                                              Disputed                                                                                  $0.00
 Service
 Centralized
 Insolvency Oper.
 P.O. Box 7346
 Philadelphia, PA
 19101-7346
 McCalla Raymer                                                                                                                                                          $0.00
 Liebert
 Pierce, LLC
 1544 Old Alabama
 Rd.
 Roswell, GA 30076
 The Appliance                                                                                                                                                           $0.00
 Doctor, Inc.
 1750 Enterprise
 Way, #103
 Marietta, GA 30067




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
                                      Case 8:23-bk-04313-CPM                                            Doc 1              Filed 09/28/23                         Page 9 of 31

 Fill in this information to identify the case:

 Debtor name            The Love Family Trust, LLC

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        4,840,900.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,250,000.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        6,090,900.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       19,493,632.44


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           368,585.36


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         19,862,217.80




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                          Case 8:23-bk-04313-CPM                Doc 1       Filed 09/28/23          Page 10 of 31

Fill in this information to identify the case:

Debtor name      The Love Family Trust, LLC

United States Bankruptcy Court for the:    MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                        Check if this is an
                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
   All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                        debtor's interest

Part 2:      Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.


Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.


Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                             page 1
                          Case 8:23-bk-04313-CPM                      Doc 1        Filed 09/28/23             Page 11 of 31

Debtor        The Love Family Trust, LLC                                                   Case number (If known)
              Name


      Yes Fill in the information below.


Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and             Net book value of             Valuation method used   Current value of
           property                              extent of              debtor's interest             for current value       debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Real property located
                    at 10450 Belladrum,
                    Alpharetta, GA 30022         Fee simple                              $0.00                                        $4,840,900.00




56.        Total of Part 9.                                                                                                        $4,840,900.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                              page 2
                         Case 8:23-bk-04313-CPM                  Doc 1       Filed 09/28/23         Page 12 of 31

Debtor       The Love Family Trust, LLC                                             Case number (If known)
             Name


      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                    Current value of
                                                                                                                    debtor's interest


71.      Notes receivable
         Description (include name of obligor)

72.      Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

73.      Interests in insurance policies or annuities
         Cash in escrow held by Chase Bank on behalf of Debtor
         from insurance                                                                                                    $1,250,000.00



74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)

75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                              $1,250,000.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                 page 3
                                Case 8:23-bk-04313-CPM                                   Doc 1            Filed 09/28/23               Page 13 of 31

Debtor          The Love Family Trust, LLC                                                                          Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                      $4,840,900.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +              $1,250,000.00

91. Total. Add lines 80 through 90 for each column                                                         $1,250,000.00            + 91b.            $4,840,900.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $6,090,900.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 4
                               Case 8:23-bk-04313-CPM                          Doc 1          Filed 09/28/23       Page 14 of 31

Fill in this information to identify the case:

Debtor name         The Love Family Trust, LLC

United States Bankruptcy Court for the:           MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Department of Justice                        Describe debtor's property that is subject to a lien             $13,000,000.00              $4,840,900.00
      Creditor's Name                              Real property located at 10450 Belladrum,
      Office of the U.S. Attorney                  Alpharetta, GA 30022
      1 Courthouse Way, #9200
      Boston, MA 02210
      Creditor's mailing address                   Describe the lien
                                                   Judgment Lien
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.
      1. Department of Justice
      2. JPMorgan Chase Bank,
      N.A.

      JPMorgan Chase Bank,
2.2                                                                                                                   $6,493,632.44             $4,840,900.00
      N.A.                                         Describe debtor's property that is subject to a lien
      Creditor's Name                              Real property located at 10450 Belladrum,
                                                   Alpharetta, GA 30022
      3415 Vision Dr.
      Columbus, OH 43219
      Creditor's mailing address                   Describe the lien
                                                   First Mortgage
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
                             Case 8:23-bk-04313-CPM                          Doc 1          Filed 09/28/23            Page 15 of 31

Debtor      The Love Family Trust, LLC                                                           Case number (if known)
            Name

      Do multiple creditors have an              As of the petition filing date, the claim is:
      interest in the same property?             Check all that apply
          No                                        Contingent
          Yes. Specify each creditor,               Unliquidated
      including this creditor and its relative      Disputed
      priority.
      Specified on line 2.1

                                                                                                                          $19,493,632.
3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                     44

Part 2:   List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       John O'Shea Sullivan, Esq.
       Burr & Forman                                                                                     Line   2.2
       171 Seventeenth St. NW, #110
       Atlanta, GA 30363

       United States Attorney
       600 Richard B. Russell Blvd.                                                                      Line   2.1
       Atlanta, GA 30303




Official Form 206D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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Fill in this information to identify the case:

Debtor name        The Love Family Trust, LLC

United States Bankruptcy Court for the:         MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              Unknown           $0.00
          Fulton County Tax Commission                         Check all that apply.
          141 Pryor St. SW, #1085                                 Contingent
          Atlanta, GA 30303                                       Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              Unknown           $0.00
          Internal Revenue Service                             Check all that apply.
          Centralized Insolvency Oper.                            Contingent
          P.O. Box 7346                                           Unliquidated
          Philadelphia, PA 19101-7346                             Disputed

          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 3
                                                                                                               26457
                            Case 8:23-bk-04313-CPM                           Doc 1           Filed 09/28/23                Page 17 of 31

Debtor       The Love Family Trust, LLC                                                             Case number (if known)
             Name

3.1       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          Fulton County Tax Commission                                        Contingent
          Water and Sewer Dept.                                               Unliquidated
          P.O. Box 105300                                                     Disputed
          Alpharetta, GA 30022
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes


3.2       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          McCalla Raymer Liebert                                              Contingent
          Pierce, LLC                                                         Unliquidated
          1544 Old Alabama Rd.                                                Disputed
          Roswell, GA 30076
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes


3.3       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $102,137.76
          PIEA, LLC                                                           Contingent
          2031 SW 60 Ave.                                                     Unliquidated
          Fort Lauderdale, FL 33317                                           Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Service Contract
          Last 4 digits of account number 5089
                                                                           Is the claim subject to offset?     No       Yes

3.4       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $140,935.71
          RCT                                                                 Contingent
          310 E. Harrison St.                                                 Unliquidated
          Tampa, FL 33602                                                     Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Restoration Claim
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.5       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          The Appliance Doctor, Inc.                                          Contingent
          1750 Enterprise Way, #103                                           Unliquidated
          Marietta, GA 30067                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.6       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $125,511.89
          The Public Adjustors                                                Contingent
          Ronald Delo                                                         Unliquidated
          1016 Thomas Dr.                                                     Disputed
          Panama City, FL 32408
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 3
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Debtor      The Love Family Trust, LLC                                         Case number (if known)
            Name

                                                                                               Total of claim amounts
5a. Total claims from Part 1                                                     5a.       $                          0.00
5b. Total claims from Part 2                                                     5b.   +   $                    368,585.36

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                          5c.       $                      368,585.36




Official Form 206 E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 3 of 3
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Fill in this information to identify the case:

Debtor name       The Love Family Trust, LLC

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      The Love Family Trust, LLC

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Daniel Delpiano             623 Casabella Circle                                      Department of                      D   2.1
                                      Tampa, FL 33609                                           Justice                            E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         The Love Family Trust, LLC

United States Bankruptcy Court for the:     MIDDLE DISTRICT OF FLORIDA

Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,             Sources of revenue                           Gross revenue
      which may be a calendar year                                                     Check all that apply                         (before deductions and
                                                                                                                                    exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                       Description of sources of revenue            Gross revenue from
                                                                                                                                    each source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 1
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Debtor      The Love Family Trust, LLC                                                            Case number (if known)



          None

      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:     Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case               Court or agency's name and                Status of case
             Case number                                                            address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address              Description of the gifts or contributions                  Dates given                           Value


Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss            Value of property
      how the loss occurred                                                                                                                             lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2
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Debtor        The Love Family Trust, LLC                                                         Case number (if known)



                Who was paid or who received              If not money, describe any property transferred               Dates               Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Buddy D. Ford, P.A.
                9301 West Hillsborough
                Avenue                                    Attorney Fees $18,262.00 and Filing Fee                       August 31,
                Tampa, FL 33615-3008                      $1,738.00                                                     2023                     $20,000.00

                Email or website address
                All@tampaesq.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:       Personally Identifiable Information




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Debtor      The Love Family Trust, LLC                                                           Case number (if known)



16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 4
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Debtor      The Love Family Trust, LLC                                                          Case number (if known)




Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 5
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Debtor      The Love Family Trust, LLC                                                         Case number (if known)



      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Daniel Delpan                          623 Casabella Circle                                Manager                                 100%
                                             Tampa, FL 33609



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 6
                          Case 8:23-bk-04313-CPM                       Doc 1         Filed 09/28/23             Page 27 of 31
Debtor      The Love Family Trust, LLC                                                          Case number (if known)




Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         September 28, 2023

/s/ Daniel Delpiano                                             Daniel Delpiano
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 7
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                                                      United States Bankruptcy Court
                                                               Middle District of Florida
 In re    The Love Family Trust, LLC                                                                              Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Daniel Delpiano                                                                                                              100%
623 Casabella Circle
Tampa, FL 33609


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date September 28, 2023                                                  Signature /s/ Daniel Delpiano
                                                                                        Daniel Delpiano

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
                       Case 8:23-bk-04313-CPM                  Doc 1      Filed 09/28/23         Page 29 of 31




                                               United States Bankruptcy Court
                                                       Middle District of Florida
 In re   The Love Family Trust, LLC                                                              Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     September 28, 2023                             /s/ Daniel Delpiano
                                                         Daniel Delpiano/Manager
                                                         Signer/Title
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The Love Family Trust, LLC         Buddy D. Ford, Esquire                    Department of Justice
623 Casabella Circle               Buddy D. Ford, P.A.                       Office of the U.S. Attorney
Tampa, FL 33609                    9301 West Hillsborough Avenue             1 Courthouse Way, #9200
                                   Tampa, FL 33615-3008                      Boston, MA 02210


Fulton County Tax Commission       Fulton County Tax Commission              Internal Revenue Service
141 Pryor St. SW, #1085            Water and Sewer Dept.                     Centralized Insolvency Oper.
Atlanta, GA 30303                  P.O. Box 105300                           P.O. Box 7346
                                   Alpharetta, GA 30022                      Philadelphia, PA 19101-7346


John O'Shea Sullivan, Esq.         JPMorgan Chase Bank, N.A.                 McCalla Raymer Liebert
Burr & Forman                      3415 Vision Dr.                           Pierce, LLC
171 Seventeenth St. NW, #110       Columbus, OH 43219                        1544 Old Alabama Rd.
Atlanta, GA 30363                                                            Roswell, GA 30076


PIEA, LLC                          RCT                                       The Appliance Doctor, Inc.
2031 SW 60 Ave.                    310 E. Harrison St.                       1750 Enterprise Way, #103
Fort Lauderdale, FL 33317          Tampa, FL 33602                           Marietta, GA 30067



The Public Adjustors               United States Attorney
Ronald Delo                        600 Richard B. Russell Blvd.
1016 Thomas Dr.                    Atlanta, GA 30303
Panama City, FL 32408
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B2030 (Form 2030) (12/15)
                                                         United States Bankruptcy Court
                                                               Middle District of Florida
 In re       The Love Family Trust, LLC                                                                       Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 18,262.00
             Prior to the filing of this statement I have received                                        $                 18,262.00
             Balance Due                                                                                  $                       0.00

2.   $      1,738.00       of the filing fee has been paid.

3.   The source of the compensation paid to me was:

                  Debtor              Other (specify):

4.   The source of compensation to be paid to me is:

                  Debtor              Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]


7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     September 28, 2023                                                       /s/ Buddy D. Ford, Esquire
     Date                                                                     Buddy D. Ford, Esquire 0654711
                                                                              Signature of Attorney
                                                                              Buddy D. Ford, P.A.
                                                                              9301 West Hillsborough Avenue
                                                                              Tampa, FL 33615-3008
                                                                              (813)877-4669 Fax: (813)877-5543
                                                                              All@tampaesq.com
                                                                              Name of law firm
